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EXHIBITS TO COMPLAINT
- Cabasé: 28:GVe0USESBIGMS Doocurment 4-1 Fi&etLO/2B7183 Pdgeue of 6737

EXHIBIT “A”

EXHIBIT “B”
EXHIBIT “C”
EXHIBIT “D”

EXHIBIT “E”

EXHIBIT “F”

EXHIBIT “G”
EXHIBIT “H”

EXHIBIT “I”
EXHIBIT “J”
EXHIBIT “K”
EXHIBIT “L”

Contents

Notice of Trustee Sale (2011), Cancellation of NTS (2011)
Settlement Check from BofA for wrongful foreclosure
Plaintiff's Affidavit of Secured Interest

Plaintiff is paying his own taxes

Plaintiff is paying his own insurance

Plaintiff's Warranty Deed, Acknowledgment, Homestead
Declaration with Land Patent

Notice to Sue to all Defendants with Affidavit of Service,
Rebutment of Statement of Breach or non Performance
and Election to Sell Under Deed of Trust Arizona,

Notice of Trustee Sale (2013)

Proof of Claim (2) to SPS sent 2013, and

Proof of Claim to BofA sent 2011

Four Offers to Pay the entire amount due sent to all
Defendants, payoff departments and their attorneys
Plaintiff’s Deed of Trust

Plaintiff's Deed of Revocation

Plaintiff's Adjustable Rate Note (The Note)

Notice of Complaint, Letter of Rescission sent to BofA,
BNY Mellon, ReconTrust plus 20 other regulatory agencies
in 2011. Part of this Notice of Complaint was sent in the

Notice to Sue to all Defendants in 2013

Pages

22

19

33
16

96
Case B1aRedoPsB Ems OpddidnttA FiKePLoegtS Pagws GSP’

EXHIBIT “A”
@

Casa@s& 23tevc)202D5B:.6MS DDoownenta-1

RECORDING REQUESTED BY:
RECONTRUST COMPANY, N.A. .
2380 Performance Dr, TX2-985-07-03
Richardson, TX 75082

WHEN RECORDED MAIL TO:
BANK OF AMERICA, N.A.

400 National way

SIMI VALLEY, CA 93065

Attn: FORECLOSURE DEPT

TS No. XX-XXXXXXX

Title Order No. 110407742AZGTI
APN No. 304-77-004W4

Flee O/2 2208 Rega REGORDS OF
MARICOPA COUNTY RECORDER
~ HELEN PURCELL
20110706281 08/24/2011 02:15
ELECTRONIC RECORDING

110407742nt-3-3-3--
sarabiam

NOTICE OF TRUSTEE'S SALE ARIZONA

The following legally described trust property will be sold, pursuant to the power of sale under that certain Deed
646998, Book N/A, Page N/A, in the records of

Ft,

of Trust Recorded on 12/18/2006, as Instrument
Maricopa County, Arizona, at public auctiopsa

Said sale will be made for cag
regarding title, possession of

Deed of Trust. The original !
reinstatement or price bid
other than a Saturday or legal fi
beneficiary to the extent of his cage
other than a Saturday or legal ho

Name and Address of Original Trus'
85297
Name and Address of Current Trustee: RECO

TX2-985-07-03 Richardson, TX 75082 FOR INFORMATION/SALE INFORMATION CALL: (800) 281-8219
Name and Address of Current Beneficiary: BANK OF NEW YORK, 400 National way, SIMI VALLEY, CA |

93065 PHONE: (800) 669-6650

RECONTRUST COMPANY, N.A. IS THE CURRENT TRUSTEE. RECONTRUST COMPANY, N.A.

ranty, express or implied,

he note secured by said Deed
ider the terms of said Deed

f the trust created by said
cash or cashier’s check for
o'clock P.M on the last day
e sale, other than the

_N.A., 2380 Performance Dr,

sebed » [L8Z90Z01 102] 221601 =plexdse ye80/n08 edooyew Jepicoey/:dyy

QUALIFIES AS A TRUSTEE OF THE TRUST DEED UNDER ARIZONA REVISED STATUTES SECTION
33-803, SUBSECTION A. 5., BECAUSE IT IS A NATIONAL ASSOCIATION REGULATED BY THE
OFFICE OF THE COMPTROLLER OF THE CURRENCY("OCC") ,

Form aznos (05/08)

MCR 1 of 4
C@SBc@ D2 9ve0 202 PSB/EMs Dapsmazaena1 Filee1o/2B71b3 Payers of 6737

DATED: August 23, 2011

RECONTRUST COMPANY, N.A.
As Trustee

State of: i BY: Deane Hong 9 z3/ Lo
~ County of: Temert Tammy Thompson, Authorized Signer
On KZ 3-4, before me dag Buse Eras ___» personally appeared
Tammy Edhoed to me (or proved to me on the oath of

or through. {2X _) to be the person whose name is subscribed to the
foregoing instrument and acknowledged to me that he/siié executed the same for the purposes and
consideration therein expressed.

Witness my hand and official seal.

y Zi () . yy oe se KANETTA DENISE EDWARDS f
; Notary Public ;
} State of Texas f

Notary Public's Signature oo | my Comm, Expires 4-19-2014 f

THIS FIRM IS ATTEMPTING TO COLLECT A DEBT. ANY INFORMATION OBTAINED WILL
BE USED FOR THAT PURPOSE. THE DEBT SET FORTH ON THIS NOTICE WILL BE
ASSUMED TO BE VALID UNLESS YOU DISPUTE THE DEBT BY PROVIDING THIS OFFICE
WITH A WRITTEN NOTICE OF YOUR DISPUTE WITHIN 30 DAYS OF YOUR RECEIPT OF
THIS NOTICE, SETTING FORTH THE BASIS OF YOUR DISPUTE. IF YOU DISPUTE THE

- DEBT IN WRITING WITHIN 30 DAYS, WE WILL OBTAIN AND MAIL VERIFICATION OF THE
DEBT TO YOU, IF THE CREDITOR IDENTIFIED IN THIS NOTICE IS DIFFERENT THAN
YOUR ORIGINAL CREDITOR, WE WILL PROVIDE YOU WITH THE NAME AND ADDRESS
OF THE ORIGINAL CREDITOR IF YOU REQUEST THIS INFORMATION IN WRITING WITHIN
30 DAYS.

_ Form aznos (05/08)
MCR 2 of 4

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TS# XX-XXXXXXX
LEGAL DESCRIPTION

A PORTION OF LAND IN THE SOUTHWEST QUARTER OF SECTION 22, TOWNSHIP 2 SOUTH, RANGL 6 EAST,
-GILA AND SALT RIVER BASE AND MERIDIAN, MARICOPA COUNTY, ARIZONA, DESCRIBED AS FOLLOWS; .

COMMENCING AT THE SOUTHWEST CORNER OF SECTION 22;
THENCE NORTH 90 DEGREES 00 MINUTES 00 SECONDS BAST, A DISTANCE OP 1284.85 PEET;
THENCE NORTH 00 DEGREES 00 MINUTES 06 SECONDS BAST, A DISTANCE OF 415.04 FEET; :

THENCE SOUTH 90 DEGREES 00 MINUTES 60 SECONDS WEST. A DISTANCE OF 195.02 FEET TO THE POINT
OF BEGINNING;

THENCE SOUTH 90 DEGREES 0 MINUTES 00 SECONDS WEST, A DISTANCE OF 367.57 FEET;
THENCE NORTH 00 DEGREES 63 MINUTES 42 SECONDS EAST, A DISTANCE OF 9.56 FEET;

‘THENCE NORTH 1€ DEGREES 49 MINUTES 40 SECONDS BAST, A DISTANCE OF 266.94 FEET;
THENCE NORTH 90 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 279.44 FEET;

THENCE SOUTH 00 DEGREES 25 MINUTES 30 SECONDS EAST, A DISTANCE OF 262.23 FEET TO THE POINT OF
SEGINN

MCR 3 of 4

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20110706281
OFFICIAL RECORDS OF
MARICOPA COUNTY RECORDER
HELEN PURCELL.

The foregoing instrument is an
electronically prepared

full, true and correct copy
Of the original record in this
Office.
Attest: 05/06/2013 11:31:54 AM

By ~ Recorder

To Verify this purchase visit
http://recorder.maricopa.gov/cert.aspx7id=103172

“MCR 4 of 4

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RECORDING REQUESTED BY:

RECONTRUST COMPANY, N.A.
2380 Performance Dr, TX2-984-04-07
Richardson, TX 75082_

WHEN RECORDED MAIL TO:
Owner of Record
23410 SOUTH 161ST WAY
GILBERT, AZ 85297

TS No. XX-XXXXXXX.

Title Order No. 110407742AZGTI
APN No. 304-77-004W4

MARICOPA COUNTY RECORDER:
HELEN PURCELL
20130250732 03/19/2013 04:16
ELECTRONIC RECORDING

110407742CL01-2-1-1--
hoyp

CANCELLATION OF NOTICE OF SALE ARIZONA
The undersigned trustee hereby cancels the Notice of Sale Recorded on 08/24/2011, as Instrument Number

20110706281, on trust property legally describe.
SEE ATTACHED EXHIBIT ''A' - 2

which Notice of Sale refers to a
HIS SOLE AND SEPARATE
REGISTRATION SYSTE
Recorded on 12/18/2006, ag
records of Maricopa Coun

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DATED: March 15, 2013

State of: Texns
County of: Tarvent )

Elsie Kroussakis

, personally appeared

On 3~1§-20/3 _ before me
AVP Recorityust Company , Ai A+, know to me (or proved to me on the oath of
) to be the person whose name is subscribed to the

or through

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foregoing instrument and acknowledged to me that he/she executed the same for the purposes and —

consideration therein expressed. -
Witness my hand and official seal.

Notary Public’s Signature

AZCNCINOS_2012.10.0_12/2012
MCR 1 of 3
CRRSS PIO USESBIGMS DiBaINeRIHAA2 FIKLOIZENB3 Payece 66737 .

ORDER NO: 110407742

EXHIBIT A

REF. NO. XX-XXXXXXX

A PORTION OF LAND IN THE SOUTHWEST QUARTER OF SECTION 22, TOWNSHIP 2
SOUTH, RANGE 6 EAST, GILA AND SALT RIVER BASE AND MERIDIAN, MARICOPA
COUNTY, ARIZONA, DESCRIBED AS FOLLOWS; we

‘COMMENCING AT THE SOUTHWEST CORNER OF SECTION 22;

fer NORTH 90 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 4 284,85 soe
Fi

THENCE NORTH 00 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 415.04":
FEET;

THENCE: SOUTH 90 DEGREES 00 MINUTES 00 SECONDS WEST,.A DISTANCE OF 193.027
‘FEET TO THE POINT OF BEGINNING;

THENCE SOUTH 80 DEGREES 00 MINUTES 00 SECONDS WEST, A DISTANCE OF 367. 67
EET:

THENCE NORTH 00 DEGREES 03 MINUTES 42 SECONDS EAST, A DISTANCE oF 9.56
FEET;

THENCE NORTH 18 DEGREES 49 MINUTES 40 SECONDS EAST, A DISTANCE OF 266.94
FEET; ay

THENCE NORTH 90 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 279,44
FEET: .

THENCE SOUTH 00 DEGREES 25 MINUTES 50 SECONDS EAST, A DISTANCE OF 22. 23... -
FEET TO THE POINT OF BEGINNING. .

MCR 2 of 3 _

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20130250732
~ OFFICIAL RECORDS OF
MARICOPA COUNTY RECORDER
HELEN PURCELL

The foregoing instrument is an
electronically prepared

full, true and correct copy

of the original record in this
Office.

Attest: 07/08/2013 01:59:46 PM

By ML Nog Recorder

To Verify this purchase visit

http://recorder.maricopa.gov/cert.aspx?id=106461

| MCR 3of3

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ARIZONA BANK OF AMERICA SETTLEMENT

AB. DATA, LTD. AS SETTLEMENT ADMINISTRATOR FOR THE Baylake Bank

ATTORNEY GENERAL OF THE STATE OF ARIZONA 79-210/759

PO BOX 170500 .

MILWAUKEE, Wi 53217-8091 CHECK NUMBER: a
DATE: 10/02/2013
CHECK AMOUNT: $1,250.00

16574083-0 | DA CLAIM NUMBER: 18574083-0
(EGU Mt GARR GN ER

IVAYLO DODEV

6312 S 161ST WAY

GILBERT AZ 85298-8455
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Dear Consumer:

On February 9, 2012, a joint state-federal settlement was reached between Arizona and 48 other states, the
federal government, and the nation’s five largest residential mortgage loan servicers. On the same date, the
Arizona Attorney General announced the settlement of a separate lawsuit against Bank of America. A portion of
the funds obtained by Arizona was allocated to help Arizona consumers who filed mortgage servicing related
complaints that contributed to the successful. resolution of the lawsuit against Bank of America. Your restitution
amount is based upon information you provided when you retumed the claim form in this matter and other records
regarding your consumer complaint. You may obtain additional information regarding the mortgage settlements at

https:/Awww.azag.gov/foreclosure/.

This check is valid for ninety days from the issue date and should be cashed on or before December 31, 2013.
You may contact the Settlement Administrator with any questions by phone at 800-331-8642 or by writing to
Arizona Bank of America Settlement, c/o A.B. Data, Ltd., PO Box 170500, Milwaukee, Wi 53217-8091.

CASH PROMPTLY ~- VOID IF NOT CASHED BY DECEMBER 31, 2013

Be —

So aot DATE __10/02/2013__
gE {A
PAYTOTHE
ORDER OF _IVAYLO DODEV $1,250.00

HoUsarid Two Hundred Fifty and 00/100 Dollars

AUTHORIZED SIGNATURE

As Keetures rc. io tt

CaSast BiBvG2258.EMSDDOdUREMS4 File Loess patwelaree’

~ EXHIBIT “B”
Casast RiSaNeG2bseEMSDOSsUMEMA-1 File LONZSLS Paywesciee7

Recording Requested By:
Ivaylo Dodev

When recorded mail documents to:
Ivaylo Dedev

6312 S 161% Way

Gilbert, AZ 85298

AFFIDAVIT OF SECURED INTEREST

OF IVAYLO DODEV
STATE OF ARIZONA ).
) ss
COUNTY OF MARICOPA )

Comes now, Ivaylo Dodev, hereinafter known as Affiant; being of sound mind, competent to

_ testify and being over the age of 21 years, after first being duly sworn according to law to tell the
truth to the facts related herein, states the he has firsthand knowledge of the facts stated herein
and believes these facts to be true to the best of his knowledge.

1. Your Affiant, Ivaylo Dodev, entered into an agreement to © purchase specific real property
on the 16" of July, 2004.

2. Your Affiant, Ivaylo Dodev, notices that the address of said property is 6312 South 161*
Way, Gilbert, Arizona 85298.

3. Your Affiant, Ivaylo Dodev, notices that the legal description of said property is as
attached. See EXHIBITA.

4. Your Affiant, Ivaylo Dodev, had a mortgage agreement specific to said property in which
the sales price was $385,000.00

5. Your Affiant, Ivaylo Dodev, made a down payment of $19,300.00, paid to the Sellers,
JUSTIN C. FRANKS AND DAIDRIA FRANKS, through CAPITAL TITLE AGENCY,
INC., AN ARIZONA CORP on July 21, 2004.

6. As of September 29" 2008, Your Affiant, Ivaylo Dodev, made payments totaling
$120,000.00. (All Loan Servicing Companies, which include first’s, second’s, refinanced
loans, Home Equity Lines of Credit, Taxes, Insurance, etc.) to multiple alleged servicers,

1
Casase D21vW262P5B1EMs Dpeatments-1 Fiikerrolsypibs paged dre 7

pursuant to the alleged loan agreement specific to the purchase of the above described .
property, including but not limited to Select Portfolio Servicing, Inc.

7. Your Affiant, Ivaylo Dodev, as of the 8" of July, 2013, has Nine Years (Original loan
date to present) of maintenance and upkeep of said property, which have an approximate
value of $807,760.00. See exhibitB

8. Your Affiant, Ivaylo Dodev, has made improvements to said property, from the time of
original purchase, which has an approximate value of $106,100.00..See exhibit B.

9. Your Affiant, Ivaylo Dodev, has a total secured interest in the above referenced property,
as of 10" of July, 2013, of approximately $1,053,160.00 (Total amount of all payments
made on 4-9).

10. To date, no party has made any offer to Your Affiant, Ivaylo Dodev, to settle Affiant's
interest in said property. .

11. Further, Affiant sayeth naught

Offered at Arm’s Length on this 1s“tay of July 2013

By: Len. fre

t Ivaylo Dodev, ARR, Explicitly Without Prejudice —

STATE OF ARIZONA oy
)SS
COUNTY OF MARICOPA )

Subscribed and sworn to (or affirmed) before me on this 15 __ day of July, 2013 by Ivaylo
Dodev, proved to me on the basis of satisfactory evidence to be the person whose name is
subscribed to the within instrument and acknowledged to me that he executed the same in his
authorized capacity, as his free will act and deed, for the purposes and considerations therein
expressed. I certify under PENALTY OF PERJURY under the laws of the State of Arizona that
the foregoing statement is true and correct. WITNESS my hand and the official seal.

Execyted by my own free will

(Seal)

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EXHIBIT A
PROPERTY LEGAL DESCRIPTION

PHYSICAL ADDRESS:
6312 South 161% Way, Gilbert, Arizona 85298

Legal Description
Commencing at the Southwest corner of Section 22;
Thence North 90 degrees 00 minutes 00 seconds East, a distance of 1284.85 feet;
Thence North 00 degrees 00 minutes 00 seconds East, a distance of 415.05 feet;
Thence South 90 degrees 00 minutes 00 seconds West, a distance of 193.02 feet
to the point of beginning; -
Thence South 90 degrees 00 minutes 00 seconds West, a distance of 367.57 feet;
Thence North 00 degrees 03 minutes 42 seconds East, a distance of 9.56 feet;
Thence North 18 degrees 49 minutes 40 seconds East, a distance of 266.94 feet;
Thence North 90 degrees 00 minutes 00 seconds East, a distance of 279.44 feet;
Thence South 00 degrees 25 minutes 50 seconds East, a distance of 262.23 feet to
the point of beginning. .

The Above Legal Description is the same property conveyed in deed

recorded 07/26/2004 as Instrument No. 20040852027 in the Official

Records of Maricopa County Recorder Helen Purcell.
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a EXHIBIT B
IMPROVEMEN: T, S AND MAINTENANCE

6312 South 161* Way, Gilbert, Arizona 85298

Legal Description
See Attached Exhibit A
Instrument No. 20040852027

IMPROVEMENTS FROM JULY 25, 2004 TO JULY 10, 2013
Built Barn: $ 65,000.00
Window Tinting, Coverings and Repairs: $ 3,500.00.
AC Repair: $ 4,000.00
Garage- Built In Cabinets and Door Insulation: $1,200.00
New wood floors: $6,000.00
Landscaping- Planting Orchard: $13,400.00
Water Softener: $2,200.00
Reverse Osmosis System: $600.00
Fencing, Decorative Columns: $9,000.00
Water Heater: $1,200.00

TOTAL: $106,100.00

MAINTENANCE AND UPKEEP FROM JULY 25, 2004 TO JULY 10, 2013
Weed/Pest Control: $1,260.00
Landscape: $9,500.00
Irrigation of Pastures: $5,800.00
Air Filters: $700.00
Carpet/House Cleaning: $1,500.00
Total Maintenance at $10.00 per hour 24/7: =$789,000.00 .

TOTAL: $807,760.00
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EXHIBIT “C”
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. certied Maite 7013 600 000035 703342.

Ivaylo Dodev

6312 S 161% Way
Gilbert, AZ 85298
Owner of Account:
304-77-004W

Lawful Notification Letter
September 30, 2013

MARICOPA COUNTY TREASURER’S OFFICE
CHARLES “HOS” HOSKINS |

301 W JEFFERSON

PHOENIX, AZ 85003

Mr. CHARLES “HOS” HOSKINS, This letter is a lawful notification to you and the MARICOPA
COUNTY TREASURE’S OFFICE that I, Ivaylo Dodev, owner of account #304-7 7-004W, am
alive and well and able to pay the taxes associated with my house, located at 6312 S. 161* Way,
Gilbert, Arizona. I am including the first portion of taxes due for year 2013, $1,019.02, Wells
Fargo Bank, NA, check # 545, along with a Tax Statement.

The reason for this letter is to instruct you not to accept any payments towards my account
from third parties and that I will be responsible for all payments due. Any and all

_ Statements, bills or notices should be addressed to me at the address associated with my

account. .

Further, any future payment from the following companies: SELECT PORTFOLIO SERVICING,
INC., BANK OF NEW YORK MELLON, NA, BANK OF AMERICA, NA or any other party
should be returned to the sender/originator.

Some, or all, of the aforementioned company has attempted to steal my property through theft by
deception, and a Legal Notice to Sue has been Processed and they have been Served. By accepting
a payment from a third party, you might put yourself or your office in a situation where a judge

_ might rule that you aided and abetted a party with unclean hands, especially after you have read
this notice. A response is not necessary and if I do not hear from you in 15 days I will assume that
my notice and instructions are clear, understood and implemented.

Respectfully,

Ivaylo T Dodev, ARR
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Subject: USPS Shipment Info for 70130600000035723322

From: US Postal Service@usps.com (US_Postal_Service@usps.com)
To: dodev7@yahoo.com:

Date: - Sunday, October 6, 2013 2:36 PM

This is a post-only message. Please do not respond.
- lvaylo Dodev has requested that you receive the current Track & Confirm information, as shown below.
" Current Track & Confirm e-mail information provided by the U.S. Postal Senice.

Label Number: 70130600000035723322

Senice Type: Certified Mail”

Shipment Activity - : Location Date & Time

Delivered . PHOENIX, AZ 85003 . October 1, 2013 8:48 am
Depart USPS Sort Facility PHOENIX, AZ 85043 October 1, 2013

Arrival at Unit PHOENIX, AZ 85034 October 1, 2013 4:17 am
Processed at USPS Origin Sort Facility PHOENIX, AZ 85043 opnomper 30, 2013 10:13
Dispatched to Sort Facility _ HIGLEY, AZ 85236 sramper 30, 2013 2:46
Acceptance HIGLEY, AZ 85236 smemper 30, 2013 1:57

USPS has not verified the validity of any email addresses submitted via its online Track & Confirm tool.

_ For more information, or if you have additional questions on Track & Confirm services and features, please visit the
Frequently Asked Questions (FAQs) section of our Track & Confirm site at
http://www.usps.com/shipping/trackandconfirm.htm . 7013 O600 o000 3572 3 3ee

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EOL a MAN, PARCELACCOUNT # 304-77-004W PRESORTED —

CHARLES “HOS” HOSKINS FIRST CLASS MAIL.
"TREASURER . > U8. ROSTAGE
301 W JEFFERSON PHOENIX, AZ
PHOENIX, AZ 85003-2199 PERMIT #359
(602)506-8511
_ G-160531
Tax Information
Statement alofgeghE ff tang yoy tMDeaghyeapondy fatal fff Alferd pylly
for mortgaged property | 96 474 “AUTO“SCH 5-DIGIT 85297
DODEV IVAYLO T
Soaey, 6312 S 161ST WAY
Sign up for GILBERT, AZ 85299-8455
Parcel Watch
at
http/Areasurer.maricopa.gov Tax Code 800600
2013 Ratio Assessed
Limited Vat
(Primary) 209, 300 .100 20,930
F ‘Sooontay) 209, 300 .100 20,930
' Total 2013 Taxes Assessed $2,038.04
 “AVAYLOTDODEV 545,
'. NIKOLINA T DODEV 91 “Sezniaas or
SSIS NCIST WAY es 3929182

Sopt 3090/3,
= Mw EK. County Ty / VAS UNeK $ LZ, oe

Pay to the
Order of

204. 77. DOYS

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Maricopa County Treasurer’ s Office

Charles "Hos" Hoskins, Treasurer

2013 Property Tax Statement - Parcel 304-77-004W 4

@ When are taxes due? ,
First half taxes are due Tuesday, October 01, 2013, delinquent after Friday, November 01, 2013.
* Second half taxes are due Saturday, March 01, 2014, delinquent after Thursday, May 01, 2014.

e You may pay both halves together until December 31. If you miss a deadline you may owe fees plus interest charges of 16%
per year prorated monthly. :

the Ful Year Amount is for the current tax year only. it does NOT include late payment interest charges or delinquent prior year:

The statement is for 2013 only. To view the Total Amount Due including interest and penalties Click Here.

@ Please call (602) 506-8511 for any questions concerning the Statement or Amount Due.

Include a Tax Stub with your check.
Current Mailing Name and Address | Legat Description
DODEV VAYLO T Section/Lot Township/Block
6312 S 161ST WAY | 22 pet 2s
GILBERT AZ 852988455 Range/Tract 6E
Request Name/Mailing Address Changes -
PT SW4 SEC SEC 22 DAF COM SW COR SD SEC 22 THE
© Or cal the Treasurer at (602)506-8511. 1284.85F TH N415.04F TH W 193.02F TPOB THW
367.57F THN 9.56F THN 18D 49M E 266.94F THE
279.44F TH S 262.23F TPOB
Tax Bill Summary Area Code: so0ec0
“0 2013 Assessed Value 2013 Tax Amount
Primary (Limited) $20,930 $1,192.64
Secondary (Full Cash) $20,930 $834.94
Special Districts . . $10.46
Full Year Amount! No delinquent prior year taxes. $2,038.04
First HalfDue — . . $1,019.02
Second Half Due $1,019.02
Total Payments Made . $0.00

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EXHIBIT “D”
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Cagasel2-£3- -67-02158-GMSP DeelMenEL4
Your insurance bill

LE/2ORSMP EGR 3 606? ”

Page lof 2
Oct 10, 2013
Nikokina Dodev Youragent
Iuaylo Dodev JOSEPH LAMBROS
Phone: (480)551-4442
Accoun s7
Home pokey Te osi25 161st Way Gilbert, AZ 85298 Email:jlambros
‘@farmersagent.com
i
Welcome to Farmers.
Questions about your bill?

You can call 1-877-327-6392
7:30 am - 10:00 pm Mon-Fri(CST)
9:30 am - 6:00 pm Sat-Sun(CST).

Get the latest at.

.comM
Make a payment or get
up-to-date information on your
coverage and payments.

Farmers HelpPoint®

For assistance with insurance
claims, call us immediately!
We re here for you 24/7, at

Important - Payment Must Be Received by the Due Date. 1-800-HelpPoint(435-7764)
: . Espanol 877-732-5266.
Pay in full by the due date and save on service charges.
Pay Plan Options
Other pay plan options may be
if the minimum amount is paid, your next payment of $377.67 will be due on available to. you. Please contact
01/30/2014 and includes a $5.00 service charge. your agent for details.

Changes to your policy may change your next payment amount.

ms Thank you for your business.
bec cenet ecu cn sdevensesetaweeveaneea - ing by oe ernest Lect ee teteeeeeseveeeey
Payment Stub Posse Dake your check payable to Farmers Insurance Exchange, write
your Account number on it, and mail it to us with this payment stub.
2 JOSEPH LAMBROS
EE 916 E BASELINE #103
28 MESA, AZ. 85204 Account number: J20equamm?”
Pay in Full: $372.67
Minimum due: ———- $0.00
NIKOLINA DODEV Due Date: Oct 30, 2013
IWVAYLO DODEV ,
6312 S 161ST WAY amount |$
GILBERT AZ 85298-8455

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Payments received after the due date will
incur @ $10.00 late payment service
charge. .

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EXHIBIT “E”
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OFFICIAL RECORDS OF
’ MARICOPA COUNTY RECORDER
, HELEN PURCELL
Recorded at the request of Capital Title Agency Inc. = .
when recorded mail to 20040852027 07/26/2004 10:56
ELECTRONIC RECORDING

IVAYLO T. DODEV
23410 South 161st Way , 22040541-3-4-1-~-
Gilbert, AZ 85242. - Fimbrezr

Warranty Deed

Escrow No. 22040541

Wo
For the consideration of Ten Dollars, and other valuable considerations, I or we, JUSTIN C. FRANKS, an unmarried
man and DAIDRIA FRANKS, an unmarried womani;‘do/does hereby convey to IVAYLO T. DODEV and NIKOLINA
T DODEVA, husband and wife, the following p aricopa, County, Arizona:

See Exhibit A attached hereto and

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SUBJECT TO: Current | all easements, rights of way,
encumbrances, liens, covenan ons, ref Doemieechets 120i liti ag appear of record.

And I or we do warrant the ti brth above.

pigxdse"ye0/A0BedooUew! Jeps00el//:CU ees

Dated July 16, 2004.

PAR
JUSTINA

STATE OF ARIZONA
COUNTY OF MARICOPA

47th
This instrument was acknowledged before me this / le day ot shtdy
JUSTIN C. FRANKS and DAIDRIA FRANKS ,

My Commission Expires: PLS AMO pn og Ball
lotary Public

sebeg r [/Z0z7¢80r00Z] 886711

CéSis8 reNCNISESBIEMS OapieEBeRbisL FiIKeLbMUHS? pdgjenseZ6r e787

ACCEPTANCE OF COMMUNITY PROPERTY

(Grantee)
Escrow No.: 22040541 -
Attachment to Warranty Deed Dated: July 16, 2004

KNOWN ALL MEN BY THESE PRESENTS:
THAT IVAYLO T. DODEV AND NIKOLINA T DODEVA, HUSBAND AND WIFE
each being first duly sworn upon oath cach for himself or herself and jointly but not one for the other deposes and says:

THAT I am one of the Grantees named in that certain Deed which is dated July 16, 2004, and executed by JUSTIN C,
- FRANKS, an unmarried man and DAIDRIA FRANKS, an unmarried woman as Grantor, and IVAYLO T. DODEV
- and NIKOLINA T DODEVA, husband and wife as Grantee, and which instrument concerns the following described

property:
See Exhibit A attached hereto and made a part hereof.

THAT the interests of the undersigned are being taken by them as Community Property with right of survivorship.

THAT cach of us individually and jointly hereby assert and affirm that it is our intention to accept said interest as
community property with right of survivorship and to acquire any interest in, or any proceeds arising out of said property,
not as tenants in common and not as joint tenants, but as Community Property with right of survivorship.

(fob. NJ fate

STATE OF ARIZONA ee
COUNTY OF MARICOPA

Ss:
This instrument was acknowledged before me wise day of __ OY
IVAYLO T. DODEV and NICKOLINA T. DODEVEA.
My Commission Expires: 2 ¢ 3-
S&

BUYERS:

OFFICIAL SEAL

% CHERYL WATSON

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Exhibit A
A PORTION OF LAND IN THE SOUTHWEST QUARTER OF SECTION 22, TOWNSHIP 2 SOUTH,
RANGE 6 EAST, GILA AND SALT RIVER BASE AND MERIDIAN, MARICOPA COUNTY, ARIZONA,
DESCRIBED AS FOLLOWS;
COMMENCING AT THE SOUTHWEST CORNER OF SECTION 22;
THENCE NORTH 90 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 1284.85 FEET;
THENCE NORTH 00 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 415.04 FEET;

THENCE SOUTH 90 DEGREES 00 MINUTES 00 SECONDS WEST, A DISTANCE OF 193.02 FEET TO
THE POINT OF BEGINNING,

THENCE SOUTH 90 DEGREES 00 MINUTES 00 SECONDS WEST, A DISTANCE OF 36757 FEET;
THENCE NORTH 00 DEGREES 03 MINUTES 42 SECONDS EAST, A DISTANCE OF 9.56 FEET;
THENCE NORTH 18 DEGREES 49 MINUTES 40 SECONDS EAST, A DISTANCE OF 266.94 FEET,
THENCE NORTH 90 DEGREES 00 MINUTES 00 SECONDS EAST, A DISTANCE OF 279.44 FEET,

THENCE SOUTH 00 DEGREES 25 MINUTES 50 SECONDS EAST, A DISTANCE OF 262.23 FEET TO
THE POINT OF BEGINNING.

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20040852027
OFFICIAL RECORDS OF
MARICOPA COUNTY RECORDER -
HELEN PURCELL

The foregoing instrument is an
electronically prepared

full, true and correct copy

of the original record in this
Office. .

Attest: 10/22/2013 11:17:40 AM

By ~ Recorder

To Verify this purchase visit
http: Mrecorder. maricopa. gov/cert. aspxid=1 12988

MCR 4 of 4

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EXHIBIT A:
ACKNOWLEDGEMENT FOR THE ACCEPTANCE OF DEED

I, Ivaylo T, a living man, of the family Dodev, made in the Creator’s image, in the capacity of IVAYLO T.
DODEV, with indefeasible title to my land, and lawful owner of the landed Estate known as IVAYLO T. DODEV
and its real property and interest, under the seal: “Ivaylo T. Dodev,” and any or all derivations thereof, am recorded
- as the grantee on the Warranty Deed for the real property described on the attached certified copy of said deed. Said
Warranty Deed is Instrument Number 2004-0852027, recorded July 26", 2004 as part of the Official Records of
Maricopa County Recorder Helen Purcell in the COUNTY OF MARICOPA, STATE OF ARIZONA.

Let it be known by these presents, that it is my freewill act and deed to execute this Acknowledgement for my
Acceptance of the Deed, and lawful ownership of the property, in fee simple, to have and to hold, under the terms of
the deed in accordance with the land patent and covenants, as my claim of unalienable right. I demand that the
record on file in the Maricopa Recorder’s Office be updated to show my acceptance of the deed, as lawful owner of
the real estate. All other real property and interest issued for this real estate and its gain is to be immediately
returned to me.

Further let it be known by these presents that I accept the oaths of all public officers and bind them to such, as
well as bestow my sovereign immunity on them while administering my lawful orders. This public record under the
seal of a competent court is guaranteed full faith and credit per Article 4 Section 1 of the United States Constitution.

I, Ivaylo T. Dodev, on this __—_s day of July, 2013, do hereby swear under oath, attest and affirm, that I have
prepared this document for the sole purposes as set forth herein, and not for any other purpose and not to mislead,
obstruct, obscure or impede the rightful due processes as provided by law, public codes and legal ‘statutes. As the
below signatory claimant, I declare under penalty of perjury that this instrument is not recorded for the purpose of

_slandering title to real property and is filed with good faith and clean hands to preserve my interests as described,
and as signatory claimant hereby enter this into the public record based on informed firsthand knowledge and stating
that the herein contained information is true, correct, complete and certain, and claimant will testify to the veracity
thereof.

Witness my Hand and Seal as my freeyill act and deed,
Offered at Arm’s Length on this /S y of July 2013

ATTESTATION OF NOTARY AND ADMINISTERING OF OATH |

L (Cuete tec, the below subscribed Notary in and for the State of Arizona, do solemnly attest that I~
administered an Oath to the Man, Ivaylo T. Dodev, as the living being who swore to the veracity and validity of this
Acknowledgment for the Acceptance of Deed, that he did so of his own freewill act and deed, and that I personally
witnessed his execution of same with original wet ink signature and seal-as entered above. Be it further known by
these presents that I, Caagyts, Fetes, as Witness for the herein matter, on this_I6 _ day of July, 2013, ama
third party and not a party to the matter. As Witness in this matter I] am acting for the purpose of taking and
administering the oath of the party as stated and of sealing same into the public record.

ed on the date as set forth herein

Page 1Lof 2
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We, the undersigned witnesses, do hereby swear or affirm that Ivaylo T. Dodev has stated to us that this is his .
- freewill act and deed to execute his acceptance of said deed and lawful ownership of the property under the terms of
the deed and to record this “Acknowledgement for the Acceptance of Deed” at the Maricopa County Recorder.

Witness: Ni Mada CGurPyoe

ly ehada Cur- ARE IS. of July, 2013

wine DALLA. hie feral _—

STATE OF ARIZONA )
)SS
COUNTY OF MARICOPA i)

Subscribed and sworn to (or affirmed) before me on this \$__day of July, 2013 by Ivaylo T. Dodev, proved to me -
on the basis of satisfactory evidence to be the person whose name is subscribed to the within instrument and

’ acknowledged to me that he executed the same in his authorized capacity, as his free will act and deed, for the
purposes and considerations therein expressed. I certify under PENALTY OF PERJURY under the laws of the
State of Arizona that the foregoing statement is true and correct. WITNESS my hand and the official seal.

Executed by my own free will

(ate, The ___ eal)

lotary Public

Page 2 of 2
CRUSE BATSADASPEMS OSEUOehee-1 FIeALd23~13° Page e1-of 8737

Ivaylo T. Dodev
6312 S 161% Way
Gilbert, AZ 85298

HOMESTEAD DECLARATION

I, Ivaylo T. Dodev, do hereby certify and declare as follows:

I hereby claim and declare Homestead the premises (land tract and its appurtenances) located i in the City of
Gilbert, County of Maricopa, State of Arizona, commonly known a as

6312 SOUTH 161* WAY, GILBERT, ARIZONA 85298
AKA 23410 SOUTH 161* WAY, GILBERT, ARIZONA 85297
and more particularly described as follows:

6312 S 161° Way in the City of Gilbert, County of Maricopa, State of Arizona as per Map recorded in
Book 502, Page 8 of the Official Records of Maricopa County Recorder Helen Purcell. Assessor’s Parcel
No. 304-77-004.

Homestead is in Township 2 S, Range 6 E, Section 22, SW" as surveyed by Wickerly and Associates for
Vineyard Land Company, LLC; EXHIBIT A, attached hereto and made a part hereof. Legal description of
property is as follows:

Commencing at the Southwest corner of Section 22;

Thence North 90 degrees 00 minutes 00 seconds East, a distance of 1284.85 feet;

Thence North 00 degrees 00 minutes 00 seconds East, a distance of 415.05 feet;

Thence South 90 degrees 00 minutes 00 seconds West, a distance of 193.02 feet to the point of

beginning; .

Thence South 90 degrees 00 minutes 00 seconds West, a distance of 367. 57 feet;

Thenice North 00 degrees 03 minutes 42 seconds East, a distance of 9.56 feet;

Thence North 18 degrees 49 minutes 40 seconds East, a distance of 266.94 feet;

Thence North 90 degrees 00 minutes 00 seconds East, a distance of 279.44 feet;

Thence South 00 degrees 25 minutes 50 seconds East, a distance of 262.23 feet to the point of

beginning.
wn SD
Page 1 of 3 7

Coase 213-0-02298-EMS? BOLUM. Fil THAIS pages? oS?’

Aforementioned land tract falls under Patent #50523 in the USA Record of Patents, registered with the
United Sates Department of the Interior, Bureau of Land Management, official since its signing on
December 30", 1915 by Woodrow Wilson, to be kept in the national archive FOREVER; EXHIBIT B,
attached hereto and made a part hereof. Patent is as referenced in Warranty Deed.

Land, and Rights or privileges in association with, are granted exclusively to the owner of apportioned land
tract, originally the Santa Fe Pacific Railroad Company at the time of patent issue.

“NOW KNOW YE, That the UNITED STATES OF AMERICA, in considerations of the premises, HAS
GIVEN AND GRANTED, and by these presents DOES GIVE AND GRANT, unto the said Santa Fe Pacific
Railroad Company, and to its successors, the lands above described” Patent 505230, Page 7.

Successor defines as, “a term borrowed from the civil law, denoting a person who succeeds to the rights of
a former owner in a single article of property, (as by purchase,) as distinguished from a universal

_ successor, who succeeds to all the rights and d powers of a former owner, as in the case of a bankrupt or
intestate estate.” Black’s Law Dictionary, 4" Edition, Pg. 1600.

Through acquisition of the aforementioned land tract, as substantiated through warranty deed (EXHIBIT
C, attached hereto and made a part hereof), and absorption of the Rights, powers, and responsibilities
associated with the article of property of the original grantee, I, Ivaylo T. Dodev, hereby declared myself to
be the qualified Successor and Assignee of the land tract now known as 6312 S 161* Way, Gilbert, AZ
85298.

Patent notes that land is given “TO HAVE AND TO HOLD the same, together with all of the rights,
privileges, immunities, and appurtenances, of whatever nature, thereunto belonging, unto the said Santa
Fe Pacific Railroad Company, and to its successors and assigns forever; subject to any vested and
accrued water rights for mining, agricultural, manufacturing or other purposes, and rights to ditches and
reservoirs used in connection with such water rights, as may be recognized and acknowledged by the local
custom, laws and decisions of courts.” Patent 505230, Pg. 8.

And those Rights are reserved and passed down to me, the lawful owner of my homestead, FOREVER. I
hereby claim possession of said land, rights, privileges, immunities, and appurtenances, as established with
the fruition of Patent #505230 through the endorsement of president Woodrow Wilson.

_ By definition, a Land Patent is the only form of proof of absolute title to Land in the United States of
America. “A patent is the highest evidence of title and is conclusive as against the government and all
claiming under junior patents or titles” U.S. v. Stone 2 U.S. 525. The patented “grant of land is a public
law standing on the statute books of the State, and is notice to every subsequent purchaser under any
conflicting sale made afterward.” Wineman y, Gastrell 2 U.S. App. 581. “State statutes that give less
authoritative ownership of title than the patent can not even be brought into federal court” Langdon vy.
Sherwood, 124 U.S. 74, 81. .

. Initials
Page 2 of 3

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Therefore, if some Right is not expressly reserved, directly on the actual United States Land Patent, it can
never be reserved on a later date. Summa v. California. 466 U.S. 198. This patent reserves no Rights for the
state, county, city, or town, private or public settlement, roads, and easements, with the exception of
aforementioned limited water rights expressly for the United States [federal] government, and “there is

reserved from the land hereby granted, a right of way thereon for ditches or canals constructed by the
authority of the United States.” Patent 505230, Pg. 8.

I am the declared Homestead owner of the above declared Homestead. I own the following interest in the
above declared Homestead: 100%.The above declared Homestead is my principal dwelling and I am
currently residing on that declared Homestead. Residing in the sense that it is used as a shelter from the
elements for me and my immediate family, a place to live, plant orchards and vineyards, and raise
livestock in order to ensure sustenance for ourselves, a place of protection.

The facts as stated in this Declaration of Homestead are known to be true as of my own personal knowledge and
this documented is executed in my authorized capacity, as my free will act and deed.

apt
Offered at Arm’s Length on this [5 day of July 2013

By foklber

A, Ivaylo X. Dodev,. ARR, Explicitly Without

Prejudice
STATE OF ARIZONA )
)SS

COUNTY OF MARICOPA )

Subscribed and sworn to (or affirmed) before me on this {4 day of July, 2013 by Ivaylo T. Dodev, proved to
me on the basis of satisfactory evidence to be the person whose name is subscribed to the within instrument and
acknowledged to me that he executed the same in his authorized capacity, as his free will act and deed, for the
purposes and considerations therein expressed. I certify under PENALTY OF PERJURY under the laws of the
State of Arizona that the foregoing statement is true and correct. WITNESS my hand and the official seal.

(Seal)

Page 3 of 3

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EXHIBIT A
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OFFICIAL RECORDS OF
MARICOPA COUNTY RECORDER
HELEN PURCELL

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XX-XXXXXXX -- See Book 502 Map 8

Recorded

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Range 6
Section 22

Lot RESULTS

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RESULTS OF SURVEY MAP VINEYARD LAND COMPANY GRANTOR
WECKERLY AND ASSOCIATES

MCR 1 of 2

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19990466504
OFFICIAL RECORDS OF
MARICOPA COUNTY RECORDER
HELEN PURCELL

The foregoing instrument is an
electronically prepared

full, true and correct copy

of the original record in this
Office.

Attest: 07/05/2013 03:52:32 PM

By Recorder

To Verify this purchase visit
http://recorder.maricopa. gov/cert.aspx?id=106390

MCR 2 of 2

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